Case 2:02-cv-02885-.]PI\/| Document 63 Filed 07/19/05 Page 1 of 2 Page|D 80

Fu.Eo ar ;__ o.c.
IN THE UNITEI) sTATEs DISTRICT coURT
FoR THE WESTERN DISTRICT 0F TENNESSEE 05 JUL |9 PH 3= lab

 

WESTERN mvlsloN
MMS u. GOULD
CLEHK U§ t):StH§£‘,T OUUT
woLFF ARDIS, P.C. W)t) off rt tt~.MPHS
Plaincifr,
vs. No. 02-2sss-Mlv

KIMBALL PRODUCTS, INC. And
RON KIMBALL

Defendants.

 

ORDER DIRECTING CLERK TO REOPEN CAUSE AND DIRECTING ENTRY OF
CONSENT JUDGMENTS

 

The Court upon Motion of the Plaintiff hereby directs this matter to be reopened and for
Judgment to be entered against the Defendant Ron Kimball in the amount of $29,635.15 and
judgment to be entered against the Defendant Kirnball Products, Inc. in the amount of
$57,304.16. Both judgments are entered by consent pursuant to the terms of the settlement
agreement announced in open Court on October 22, 2003 (a written memorialization of which
was attached to this Court’s Order of October 30, 2003.

ENTERED this lqday of July, 2005.
nw tit ‘(W
JON . McCALLA
ED STATES DISTRICT JUDGE

d n'~n* er‘*e'-c-d en the docket sheet in compl\a ca
his ocui s. t . .. w
T "r’ on

with Rule 58 and/or 79(;1) FHL.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 63 in
case 2:02-CV-02885 Was distributed by faX, mail, or direct printing on
July 20, 2005 to the parties listed.

 

 

Patrick M. Ardis
WOLFF ARDIS

5810 Shelby Oaks Dr.
Memphis7 TN 38134

Kimball Products, In
KIMBALL PRODUCTS INC.
259 Territorial Road

Benton Harbor, l\/H 49022

Stephen F. Libby

COCHRAN CHERRY GIVENS SMITH & BOLTON
One Commerce Square

Ste. 2600

Memphis7 TN 38103

Ron Kimball
228 Higman Park
Benton Harbor, l\/H 49022

J ill M. Madajczyk
WOLFF ARDIS

5810 Shelby Oaks Dr.
Memphis7 TN 38134

Honorable J on McCalla
US DISTRICT COURT

